                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                                3:00-CR-222


UNITED STATES OF AMERICA                   )
                                           )                ORDER
      v.                                   )
                                           )
TERRY EUGENE CURETON                       )



      THIS MATTER IS BEFORE THE COURT upon Petitioner Terry Eugene Cureton’s
Motion for Reduction of Sentence [doc. 133] filed on November 5, 2007.

      IT IS HEREBY ORDERED that the Government has 20 days to respond to this motion.

                                          Signed: November 7, 2007




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